

Church of Jesus Christ of Latter-Day Sts. v Kelly (2021 NY Slip Op 07062)





Church of Jesus Christ of Latter-Day Sts. v Kelly


2021 NY Slip Op 07062


Decided on December 16, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 16, 2021

Before: Kapnick, J.P., Friedman, González, Rodriguez, Pitt, JJ. 


Index No. 301088/17 Appeal No. 14876 Case No. 2019-03463 

[*1]The Church of Jesus Christ of Latter-Day Saints, Servant: Xiu Jian Sun, The Spiritual Adam, Plaintiff-Appellant,
vMichael P. Kelly, Esq., et al., Defendants-Respondents.


Xiu Jian Sun, Flushing, for appellant.
Marshall Dennehey Warner Coleman &amp; Goggin, P.C., Melville (Michael P. Kelly of counsel), for respondents.



Appeal from order, Supreme Court, Bronx County (Donna M. Mills, J.), entered on or about May 1, 2018, which granted defendants' motion to dismiss the complaint, unanimously dismissed, without costs, as moot.
This Court has already affirmed the order sought to be appealed (Church of Jesus Christ of Latter-Day Sts., Servant v Kelly, 174 AD3d 463, 463 [1st Dept 2019], appeal dismissed, 34 NY3d 978 [2019]). Even if a valid appeal were pending, plaintiff has made no cognizable request for relief, and offers no legal or factual arguments that would warrant reversal. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 16, 2021








